                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 09-CR-2023-LRR
 vs.                                                           ORDER
 JERRY GLEN WEEKLEY, Jr.,
               Defendant.

                                ____________________
       The matter before the court is United States Magistrate Judge Jon S. Scoles’s Report
and Recommendation (docket no. 525). The Report and Recommendation recommends
that the undersigned grant the government’s “Motion to Dismiss Petition of Justin Weekley
Re: Forfeiture of 2010 Camaro” (“Motion”) (docket no. 512). The time to object to the
Report and Recommendation has expired. Petitioner Justin Weekley has not filed any
objections to the Report and Recommendation. Justin Weekley has thus waived his right
to de novo review of the Report and Recommendation. See, e.g., United States v.
Rodriguez, 484 F.3d 1006, 1010-11 (8th Cir. 2007) (“[A party’s] ‘failure to file any
objections waived his right to de novo review by the district court of any portion of the
report and recommendation of the magistrate judge as well as his right to appeal from the
findings of fact contained therein.’” (quoting United States v. Newton, 259 F.3d 964, 966
(8th Cir. 2001)). The court finds no plain error in Judge Scoles’s decision. Accordingly,
the court ADOPTS the Report and Recommendation (docket no. 525). The Motion
(docket no. 512) is GRANTED.
       IT IS SO ORDERED.
       DATED this 16th day of December, 2010.




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